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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                       www.flsb.uscourts.gov


    IN RE:                                                     Chapter 11 Case
                                                               Bankr. Case No. 22-17842 (PDR)
    VITAL PHARMACEUTICALS, INC., et al.,                       (Jointly Administered)

                                     Debtors.1



                                                               Bankr. Adv. Pro. No 23-01031 (PDR)
    VITAL PHARMACEUTICALS, INC., and
    JHO INTELLECTUAL PROPERTY
    HOLDINGS, LLC,

                                     Plaintiffs,
    v.

    ORANGE BANG, INC., and MONSTER
    ENERGY COMPANY,
                           Defendants.


    JOINT MOTION OF MONSTER ENERGY COMPANY AND ORANGE BANG, INC.
    FOR CLARIFICATION OF ORDER SETTING BRIEFING SCHEDULE (ECF NO. 14)

                                      Emergency Hearing Requested

                      Request for Emergency Hearing Per Local Rule 9075-1
                  Movants request an emergency hearing on the Motion on March
                  16, 2023 at 2:30 p.m. An emergency hearing is necessary
                  because this motion requests, in an abundance of caution,
                  clarification of the page limits under the briefing schedule
                  related to a deadline on March 17, 2023. Defendants seek to file
                  a consolidated response for purposes of judicial economy, not to
                  exceed the aggregate page limits allocable to Defendants

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  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal tax
identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada. Inc. (5454); (iii) JHO
Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
(6501); (vi) Rainbow Unicom Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).



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               individual response briefs. Movants have made a bona fide
               effort to resolve the matter without hearing, and Plaintiffs
               oppose the relief requested.

         Monster Energy Company (“Monster”) and Orange Bang, Inc. (“Orange Bang” and

together with Monster, the “Movants” or “Defendants”), defendants in the above-captioned

adversary proceeding commenced by debtors and plaintiffs Vital Pharmaceuticals, Inc. and JHO

Intellectual Property Holdings, LLC (“Plaintiffs” and, together with their affiliated debtors, the

“Debtors”), hereby move this Court to clarify the Order Setting Briefing Schedule and Oral

Argument on Plaintiff’s Motion for Summary Judgment and Incorporated Memorandum of Law

(ECF No. 14), to permit Defendants to file one joint, consolidated response composed of fewer

than the aggregate page limitations for each Defendant’s response. In support thereof, Defendants

state as follows:

         1.    On February 17, 2023, Plaintiffs filed their Adversary Complaint for Declaratory

Judgment (ECF No. 1) and a Motion for Summary Judgment and Incorporated Memorandum of

Law (ECF No. 2) (“Summary Judgment Motion”).

         2.    On February 27, 2023, the Court entered an Order Setting Briefing Schedule and

Oral Argument on Plaintiff’s Motion for Summary Judgment and Incorporated Memorandum of

Law (ECF No. 14) (the “Scheduling Order”).

         3.    The Scheduling Order provides that “the deadline for the Defendants…to file their

respective responses to the Summary Judgment Motion is March 17, 2023, and the response of

each Defendant shall not exceed 25 pages in length.”

         4.    In the interest of judicial economy, Defendants seek to file a single, joint

consolidated response brief to the Summary Judgment Motion of 40 pages or less, which is fewer

than the aggregate number of pages for both of Defendants’ respective responses.



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         5.     Defendants believe that the consolidation of the response into a single brief will

conserve judicial economy, avoid repetition or incorporation by reference, and streamline the

briefing process for all parties, as Plaintiffs will only need to address a single response brief in

their reply and it will result in fewer total pages filed.

         6.     Prior to the filing of this Motion, Defendants sought Plaintiffs’ consent to the relief

requested in this Motion and the Plaintiffs stated that they opposed the filing of a single,

consolidated response to the Summary Judgment Motion of 45 pages or less and have yet to

respond as to whether they would consent to a consolidated brief of 40 pages or less. Accordingly,

the Movants have filed this Motion to clarify the Scheduling Order for the purposes of preserving

judicial economy. To the extent that the Plaintiffs consent to the relief requested in this Motion

prior to any hearing on the Motion, the Defendants will present an Agreed Order granting the relief

requested herein for the Court's consideration.

         7.     Defendants have jointly moved to withdraw the reference (ECF No. 17), and the

request for relief in this Motion is not intended to waive, modify, or otherwise affect the relief

sought in such motion. Defendants reserve all rights and remedies with respect to same. The Order

Granting the Joint Motion for Clarification of Order Setting Briefing Schedule is attached hereto

as Exhibit “A”.

         WHEREFORE, Monster Energy Company and Orange Bang, Inc. respectfully request

that the Court enter an Order: (i) clarifying that, under the Scheduling Order, Defendants may file

a single, consolidated response brief to the Summary Judgment Motion of no more than 40 pages,

and (ii) granting all other further relief as the Court may deem just and proper.




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Dated: March 15, 2023                              AKERMAN LLP

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                                                    Counsel to Monster Energy Company

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2
  Michael I. Goldberg hereby certifies that the undersigned attorneys are appearing pro hac vice in this matter pursuant
to court orders in the main case, Case No. 22-17842-PDR, dated as follows: (i) Teddy M. Kapur, October 14, 2022
[ECF No. 103]; (ii) Robert J. Feinstein, October 17, 2022 [ECF No. 133]; (iii) Steven Golden, October 17, 2022 [ECF
No. 134]; (iv) Richard M. Pachulski, October 18, 2022 [ECF No. 158] ; and (v) Ira D. Kharasch, October 18, 2022
[ECF No. 159].


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                                                  Counsel to Orange Bang, Inc.




                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the forgoing was served via

CM/ECF Notice of Electronic Filings to all parties registered to receive electronic noticing in

this case on March 15, 2023.

                                                      By: s/ Michael I. Goldberg________




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  G. Steven Fender hereby certifies that the undersigned attorneys are appearing pro hac vice in this matter pursuant
to court orders in the main case, Case No. 22-17842-PDR, dated as follows: (i) Thomas E. Patterson, November 8,
2022 [ECF No. 269]; (ii) Nir Maoz, November 8, 2022 [ECF No. 270].


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  EXHIBIT “A”
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                     UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF FLORIDA
                        FORT LAUDERDALE DIVISION
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IN RE:                                         Chapter 11 Case
                                               Bankr. Case No. 22-17842 (PDR)
VITAL PHARMACEUTICALS, INC., et al.,           (Jointly Administered)

                        Debtors.



                                               Bankr. Adv. Pro. No 23-01031 (PDR)
VITAL PHARMACEUTICALS, INC., and
JHO INTELLECTUAL PROPERTY
HOLDINGS, LLC,

                        Plaintiffs,
v.

ORANGE BANG, INC., and MONSTER
ENERGY COMPANY,
                       Defendants.



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             ORDER GRANTING JOINT MOTION OF MONSTER ENERGY
             COMPANY AND ORANGE BANG, INC. FOR CLARIFICATION
         OF ORDER SETTING BRIEFING SCHEDULE (ECF NO. 14) (ECF NO. ___)

         THIS MATTER came before the Court for a hearing on March 16, 2023 at 2:30 p.m. on

the Joint Motion of Monster Energy Company and Orange Bang, Inc. for Clarification of Order

Setting Briefing Schedule (ECF No. 14) (ECF No. ___) (the “Motion”) filed by Monster Energy

Company (“Monster”) and Orange Bang, Inc. (“Orange Bang” and together with Monster, the

“Movants” or “Defendants”). The Court, having reviewed the Motion, having heard argument of

the parties, and being otherwise fully advised in the premises, does hereby ORDER that:

         1.     The Motion is GRANTED.

         2.     The Court clarifies and interprets Paragraph 1 of the Order Setting Briefing

Schedule and Oral Argument on Plaintiff’s Motion for Summary Judgment and Incorporated

Memorandum of Law (ECF No. 14), to permit Defendants, in lieu of filing separate responses, to

file one joint, consolidated response to the Summary Judgment Motion which consolidated, joint

response shall not exceed 40 pages in length, no later than March 17, 2023.

                                              ###

Submitted by:

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Attorney Goldberg is directed to serve a conformed copy of this order on all interested parties.




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